                   Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 1 of 44
 Fill in this information to identify the case
 Debtor name          Riverside General Hospital, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          16-30603
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing


Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                               12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                             debtor's interest

2.     Cash on hand                                                                                                                        $841.00

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Unity Checking Acct                                           Checking account                                                       $0.00


4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)




5.     Total of Part 1
                                                                                                                                           $841.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                          page 1
                 Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 2 of 44
Debtor       Riverside General Hospital, Inc.                                              Case number (if known)     16-30603
             Name

                                                                                                                                Current value of
                                                                                                                                debtor's interest
7.   Deposits, including security deposits and utility deposits

     Description, including name of holder of deposit




8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment




9.   Total of Part 2.
                                                                                                                                                $0.00
     Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                                Current value of
                                                                                                                                debtor's interest
11. Accounts receivable

11a. 90 days old or less:              $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

11b. Over 90 days old:                 $0.00               –                 $0.00                  = .......................                   $0.00
                            face amount                        doubtful or uncollectible accounts

12. Total of Part 3
                                                                                                                                                $0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                            Valuation method                    Current value of
                                                                                            used for current value              debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:




15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                 % of ownership:




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                                   page 2
                 Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 3 of 44
Debtor       Riverside General Hospital, Inc.                                         Case number (if known)    16-30603
             Name

16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

         Describe:




17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                     $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.

     General description                         Date of the      Net book value of    Valuation method              Current value of
                                                 last physical    debtor's interest    used for current value        debtor's interest
                                                 inventory        (Where available)
19. Raw materials


                                                 MM / DD / YYYY
20. Work in progress


                                                 MM / DD / YYYY
21. Finished goods, including goods held for resale


                                                 MM / DD / YYYY
22. Other inventory or supplies


                                                 MM / DD / YYYY
23. Total of Part 5
                                                                                                                                     $0.00
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                      Valuation method                        Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                          Net book value of    Valuation method              Current value of
                                                                  debtor's interest    used for current value        debtor's interest
                                                                  (Where available)
28. Crops--either planted or harvested




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                        page 3
                 Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 4 of 44
Debtor       Riverside General Hospital, Inc.                                           Case number (if known)    16-30603
             Name

29. Farm animals Examples: Livestock, poultry, farm-raised fish



30. Farm machinery and equipment (Other than titled motor vehicles)



31. Farm and fishing supplies, chemicals, and feed



32. Other farming and fishing-related property not already listed in Part 6



33. Total of Part 6.
                                                                                                                                       $0.00
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                  No
                  Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                      Valuation method                        Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

     Chairs, Tables, and Desks                                                                                                   $15,000.00
40. Office fixtures



41. Office equipment, including all computer equipment and
    communication systems equipment and software



42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
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Debtor       Riverside General Hospital, Inc.                                         Case number (if known)    16-30603
             Name

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                               $15,000.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                          Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers        debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels




49. Aircraft and accessories




50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)



51. Total of Part 8.
                                                                                                                                     $0.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                        page 5
                Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 6 of 44
Debtor      Riverside General Hospital, Inc.                                         Case number (if known)   16-30603
            Name

55.   Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
      Description and location of property          Nature and extent      Net book value of   Valuation method    Current value of
      Include street address or other description   of debtor's interest   debtor's interest   used for current    debtor's interest
      such as Assessor Parcel Number (APN),         in property            (Where available)   value
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.

55.1. 3204 Ennis St. Houston, Texas                 REAL PROPERTY                                                         $7,560,251.00
      77004-3213
      3204 Ennis St. Houston, Texas
      77004-3213
      RES A BLK 1
      RIVERSIDE GENERAL
55.2. 3217 Anita St. Houston, Texas 77004           REAL PROPERTY                                                            $55,000.00
      3217 Anita St. Houston, Texas 77004
      LT 12 BLK 4
      BOOKER T WASHINGTON
55.3. Liberty County Property                       REAL PROPERTY                                                          $584,060.00
      31201515000RIVERSIDE GENERAL
      HOSPITAL#1SUE-ANN OPERATING,
      L.C.RI0.25000000AB 69 /MASON
      PETER SUR

55.4. 4514 Lyons Ave. Houston, Texas                REAL PROPERTY                                                        $10,457,162.00
      77020
      4514 Lyons Ave. Houston, Texas
      77020
      LTS 1 2 & 3 & 7 8 9 & 10 BLK 117
      (PRORATED 1-15-15)
      AUGUSTA
55.5. 2802 Live Oak, Houston, Texas                 REAL PROPERTY                                                            $84,375.00
      77004
      2802 Live Oak, Houston, Texas
      77004

55.6. 2711 Live Oak Houston, Texas 77004            REAL PROPERTY                                                          $112,500.00
      2711 Live Oak Houston, Texas 77004
55.7. 2918 Rosalie St. Houston, Texas               REAL PROPERTY                                                          $120,316.00
      77004
      2918 Rosalie St. Houston, Texas
      77004

55.8. 3213 Delano St. Houston, Texas                REAL PROPERTY                                                            $49,219.00
      77004
      3213 Delano St. Houston, Texas
      77004
55.9. 3215 Delano St. Houston, Texas                REAL PROPERTY                                                            $49,219.00
      77004
      3215 Delano St. Houston, Texas
      77004

55.10. 3103 Paige St. Houston, Texas 77004          REAL PROPERTY                                                            $87,500.00
      3103 Paige St. Houston, Texas 77004

55.11. 3204 Paige St. Houston, Texas 77004          REAL PROPERTY                                                            $43,750.00
      3204 Paige St. Houston, Texas 77004
55.12. 2829 Holman St. Houston, Texas               REAL PROPERTY                                                            $80,385.00
      77002
      2829 Holman St. Houston, Texas
      77002

Official Form 206A/B                         Schedule A/B: Assets -- Real and Personal Property                                        page 6
                 Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 7 of 44
Debtor       Riverside General Hospital, Inc.                                            Case number (if known)    16-30603
             Name


55.13. 3005 Holman St. Houston, Texas                REAL PROPERTY                                                                $120,296.00
      77004
      3005 Holman St. Houston, Texas
      77004

55.14. 3002 Holman St. Houston, Texas                REAL PROPERTY                                                                $213,096.00
      77004
      3002 Holman St. Houston, Texas
      77004
55.15. 3020 Holman St. Houston, Texas                REAL PROPERTY                                                                $192,007.00
      77004
      3020 Holman St. Houston, Texas
      77004

55.16. 3509 Ennis St. Houston, Texas 77004           REAL PROPERTY                                                                $114,884.00
      3509 Ennis St. Houston, Texas 77004

55.17. 0 Elgin, Houston, Texas 77004                 REAL PROPERTY                                                                $299,970.00
      0 Elgin, Houston, Texas 77004

55.18. 0 Chisom St. Houston, Texas 77004             REAL PROPERTY                                                                  $19,755.00
      0 Chisom St. Houston, Texas 77004
55.19. 0 Chisom St. Houston, Texas 77004             REAL PROPERTY                                                                  $21,387.00
      0 Chisom St. Houston, Texas 77004
55.20. 3215 Ennis St. Houston, Texas 77004           REAL PROPERTY                                                                $154,093.00
55.21. 2711 Live Oak Houston, Texas 77004            REAL PROPERTY                                                                  $65,625.00
      2711 Live Oak Houston, Texas 77004
56. Total of Part 9.
                                                                                                                               $20,484,850.00
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

     General description                                           Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets



61. Internet domain names and websites



62. Licenses, franchises, and royalties



63. Customer lists, mailing lists, or other compilations




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 7
                  Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 8 of 44
Debtor       Riverside General Hospital, Inc.                                            Case number (if known)    16-30603
             Name

64. Other intangibles, or intellectual property



65. Goodwill



66. Total of Part 10.
                                                                                                                                          $0.00
    Add lines 60 through 65. Copy the total to line 89.

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest
71. Notes receivable

     Description (include name of obligor)

                                                                                       –                           =
                                                                  Total face amount    doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

                                                                                                   Tax year

                                                                                                   Tax year

                                                                                                   Tax year

73. Interests in insurance policies or annuities



74. Causes of action against third parties (whether or not a lawsuit has been filed)



     Nature of claim

     Amount requested


75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims



     Nature of claim

     Amount requested




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 8
                       Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 9 of 44
Debtor           Riverside General Hospital, Inc.                                                                    Case number (if known)         16-30603
                 Name

76. Trusts, equitable or future interests in property



77. Other property of any kind not already listed Examples: Season tickets, country club membership




78. Total of Part 11.
                                                                                                                                                                    $0.00
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes

 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                                $841.00
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                                   $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                       $0.00

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                                 $0.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $15,000.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                              $0.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................    $20,484,850.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +                  $0.00

91. Total. Add lines 80 through 90 for each column.                        91a.              $15,841.00          +     91b.       $20,484,850.00


                                                                                                                                                              $20,500,691.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                       page 9
                  Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 10 of 44
 Fill in this information to identify the case:
 Debtor name          Riverside General Hospital, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          16-30603                                                                                     Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          Briar Capital                                    subject to a lien                                 $3,962,162.44                     $0.00

          Creditor's mailing address                       Casa
          1500 City W. Blvd                                Describe the lien
                                                           Agreement
          Houston                    TX   77042            Is the creditor an insider or related party?
          Creditor's email address, if known                    No
                                                                Yes

          Date debt was incurred                           Is anyone else liable on this claim?
          Last 4 digits of account                             No
          number                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)

          Do multiple creditors have an interest in        As of the petition filing date, the claim is:
          the same property?                               Check all that apply.
              No                                               Contingent
              Yes. Specify each creditor, including this       Unliquidated
              creditor, and its relative priority.             Disputed




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                             $19,222,322.03


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
                Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 11 of 44
Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.2     Creditor's name                                     Describe debtor's property that is
         Dixon Financial Services, LTD                       subject to a lien                                 $6,300,000.00                     $0.00

         Creditor's mailing address                          Note
         3401 Allen Pkwy                                     Describe the lien
         Ste 100                                             Secured Debt
         Houston                    TX    77019              Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.3     Creditor's name                                     Describe debtor's property that is
         Dixon Financial Services, LTD                       subject to a lien                                    $300,514.00                    $0.00

         Creditor's mailing address                          Note
         3401 Allen Pkwy Ste 100                             Describe the lien
                                                             Secured Debt
         Houston                    TX    77019              Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
                Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 12 of 44
Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.4     Creditor's name                                     Describe debtor's property that is
         Dixon Financial Services, LTD                       subject to a lien                                       Unknown                     $0.00

         Creditor's mailing address                          Promissory Note
         1825 Upland Drive                                   Describe the lien
                                                             Secured Debt
         Houston                    TX    77043              Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.5     Creditor's name                                     Describe debtor's property that is
         Federal Emergency Management Agencysubject to a lien                                                  $5,000,000.00                     $0.00

         Creditor's mailing address         FEMA Funds
         500 C Street S.W.                  Describe the lien
                                                             Secured Debt
         Washington                 DC    20472              Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
                Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 13 of 44
Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.6     Creditor's name                                     Describe debtor's property that is
         Galveston County                                    subject to a lien                                         $160.89                   $0.00

         Creditor's mailing address           Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                       PROPERTY TAX
         Houston                    TX    77253-3064         Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.7     Creditor's name                                     Describe debtor's property that is
         Harris County et al                                 subject to a lien                                     $23,783.96                    $0.00

         Creditor's mailing address                          Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                       PROPERTY TAX
         Houston                    TX    77253-3064         Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
                 Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 14 of 44
Debtor         Riverside General Hospital, Inc.                                               Case number (if known) 16-30603

 Part 1:        Additional Page                                                                               Column A               Column B
                                                                                                              Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                     Do not deduct the      that supports
sequentially from the previous page.                                                                          value of collateral.   this claim

 2.8     Creditor's name                                      Describe debtor's property that is
         Houston Liens                                        subject to a lien                                         $446.73                   $0.00

         Creditor's mailing address           Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                        PROPERTY TAX
         Houston                    TX     77253-3064         Is the creditor an insider or related party?
         Creditor's email address, if known                        No
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
         Last 4 digits of account                                 No
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                 No. Specify each creditor, including this
                 creditor, and its relative priority.
                 Yes. The relative priority of creditors is
                 specified on lines

 2.9     Creditor's name                                      Describe debtor's property that is
         JLE Investors                                        subject to a lien                                 $1,135,212.02                     $0.00

         Creditor's mailing address                           3204 Ennis
         710 Post Oak                                         Describe the lien
         208                                                  Agreement
         Houston                    TX     77024              Is the creditor an insider or related party?
         Creditor's email address, if known                        No
                                                                   Yes

         Date debt was incurred                               Is anyone else liable on this claim?
         Last 4 digits of account                                 No
         number                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in            As of the petition filing date, the claim is:
         the same property?                                   Check all that apply.
             No                                                   Contingent
             Yes. Have you already specified the                  Unliquidated
                  relative priority?                              Disputed
                 No. Specify each creditor, including this
                 creditor, and its relative priority.
                 Yes. The relative priority of creditors is
                 specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 5
                Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 15 of 44
Debtor       Riverside General Hospital, Inc.                                                Case number (if known) 16-30603

 Part 1:       Additional Page                                                                               Column A               Column B
                                                                                                             Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                    Do not deduct the      that supports
sequentially from the previous page.                                                                         value of collateral.   this claim

 2.10    Creditor's name                                     Describe debtor's property that is
         Texas City ISD                                      subject to a lien                                          $41.99                   $0.00

         Creditor's mailing address           Ad Valorem Taxes
         Linebarger Goggan Blair & Sampson LLPDescribe the lien
         P.O. Box 3064                                       PROPERTY TAX
         Houston                    TX    77253-3064         Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines

 2.11    Creditor's name                                     Describe debtor's property that is
         Triple 8 Venture Corp.                              subject to a lien                                 $2,500,000.00                     $0.00

         Creditor's mailing address                          Note
         c/o Alan R. Scheinthal                              Describe the lien
         Scheinthal & Kouts, LLP                             Secured Debt
         Houston                    TX    77027              Is the creditor an insider or related party?
         Creditor's email address, if known                       No
                                                                  Yes

         Date debt was incurred                              Is anyone else liable on this claim?
         Last 4 digits of account                                No
         number                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)

         Do multiple creditors have an interest in           As of the petition filing date, the claim is:
         the same property?                                  Check all that apply.
             No                                                  Contingent
             Yes. Have you already specified the                 Unliquidated
                  relative priority?                             Disputed
                No. Specify each creditor, including this
                creditor, and its relative priority.
                Yes. The relative priority of creditors is
                specified on lines




Official Form 206D             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6
                  Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 16 of 44
 Fill in this information to identify the case:
 Debtor              Riverside General Hospital, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         16-30603                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                         12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the              $18,660.00           $18,660.00
                                                                claim is: Check all that apply.
Internal Revenue Service
                                                                    Contingent
P.O. Box 7346                                                       Unliquidated
                                                                    Disputed


Philadelphia                          PA      19101-7346        Basis for the claim:
                                                                941 Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
Last 4 digits of account                                             No
number                                                               Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )


     2.2   Priority creditor's name and mailing address         As of the petition filing date, the            $177,073.00           $177,073.00
                                                                claim is: Check all that apply.
Internal Revenue Service
                                                                    Contingent
P.O. Box 7346                                                       Unliquidated
                                                                    Disputed


Philadelphia                          PA      19101-7346        Basis for the claim:
                                                                941 Taxes
Date or dates debt was incurred
                                                                Is the claim subject to offset?
Last 4 digits of account                                             No
number                                                               Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                Case 16-30603 Document 25 Filed in TXSB on 03/04/16 Page 17 of 44
Debtor      Riverside General Hospital, Inc.                                         Case number (if known)     16-30603

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim          Priority amount

  2.3    Priority creditor's name and mailing address       As of the petition filing date, the               $629,895.00      $629,895.00
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                                Contingent
P.O. Box 7346                                                   Unliquidated
                                                                Disputed


Philadelphia                       PA     19101-7346        Basis for the claim:
                                                            941 Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
Last 4 digits of account                                         No
number                                                           Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )


  2.4    Priority creditor's name and mailing address       As of the petition filing date, the               $277,477.00      $277,477.00
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                                Contingent
P.O. Box 7346                                                   Unliquidated
                                                                Disputed


Philadelphia                       PA     19101-7346        Basis for the claim:
                                                            941 Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
Last 4 digits of account                                         No
number                                                           Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )


  2.5    Priority creditor's name and mailing address       As of the petition filing date, the               $655,755.00      $655,755.00
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                                Contingent
P.O. Box 7346                                                   Unliquidated
                                                                Disputed


Philadelphia                       PA     19101-7346        Basis for the claim:
                                                            941 Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
Last 4 digits of account                                         No
number                                                           Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2
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Debtor      Riverside General Hospital, Inc.                                         Case number (if known)     16-30603

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim          Priority amount

  2.6    Priority creditor's name and mailing address       As of the petition filing date, the               $135,000.00      $135,000.00
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                                Contingent
P.O. Box 7346                                                   Unliquidated
                                                                Disputed


Philadelphia                       PA     19101-7346        Basis for the claim:
                                                            941 Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
Last 4 digits of account                                         No
number                                                           Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )


  2.7    Priority creditor's name and mailing address       As of the petition filing date, the                 $1,780.00         $1,780.00
                                                            claim is: Check all that apply.
Internal Revenue Service
                                                                Contingent
P.O. Box 7346                                                   Unliquidated
                                                                Disputed


Philadelphia                       PA     19101-7346        Basis for the claim:
                                                            990 Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
Last 4 digits of account                                         No
number                                                           Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )


  2.8    Priority creditor's name and mailing address       As of the petition filing date, the                $27,856.21       $27,856.21
                                                            claim is: Check all that apply.
Office of the Attorney General
                                                                Contingent
PO Box 12548, MC-008                                            Unliquidated
                                                                Disputed


Austin                             TX     78711-2548        Basis for the claim:
                                                            Unemployment Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
Last 4 digits of account                                         No
number                                                           Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3
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Debtor         Riverside General Hospital, Inc.                                         Case number (if known)      16-30603

 Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
       claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim

     3.1   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $182.00
                                                                    Check all that apply.
A-Affordable Vacuum Service                                             Contingent
                                                                        Unliquidated
7039 Burkett Street
                                                                        Disputed

                                                                    Basis for the claim:
Houston                                   TX       77021            Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.2   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $662.08
                                                                    Check all that apply.
Abbott Laboratories                                                     Contingent
                                                                        Unliquidated
100 Abbott Park Road
                                                                        Disputed

                                                                    Basis for the claim:
Abbott Park                               IL       60064-3500       Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.3   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                      $202.82
                                                                    Check all that apply.
Absolute Meter Services                                                 Contingent
                                                                        Unliquidated
10314 Sagetrail Drive
                                                                        Disputed

                                                                    Basis for the claim:
Houston                                   TX       77089            Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes


     3.4   Nonpriority creditor's name and mailing address          As of the petition filing date, the claim is:                    $1,702.75
                                                                    Check all that apply.
AC Contractors                                                          Contingent
                                                                        Unliquidated
13111 Cottingham Street
                                                                        Disputed

                                                                    Basis for the claim:
Houston                                   TX       77048            Unsecured Debt

Date or dates debt was incurred                                     Is the claim subject to offset?
                                                                         No
Last 4 digits of account number                                          Yes




Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
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Debtor       Riverside General Hospital, Inc.                                       Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.5     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $3,391.51
                                                                Check all that apply.
Advantage Office Products                                           Contingent
                                                                    Unliquidated
5722 Bingle Road, Suite B
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.6     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,785.00
                                                                Check all that apply.
Affordable Environmental, Inc.                                      Contingent
                                                                    Unliquidated
12322 WA-99, Suite 99
                                                                    Disputed

                                                                Basis for the claim:
Everett                                WA       98204           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.7     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $188.80
                                                                Check all that apply.
Alarm Master Corporation                                            Contingent
                                                                    Unliquidated
10615 Rockley Road
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77099           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.8     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $2,125.32
                                                                Check all that apply.
All American Air Works                                              Contingent
                                                                    Unliquidated
P. O. Box 1000
                                                                    Disputed

                                                                Basis for the claim:
Sophia                                 WV       25921-1000      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5
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Debtor       Riverside General Hospital, Inc.                                       Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.9     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,740.73
                                                                Check all that apply.
Alpha Electric Company                                              Contingent
                                                                    Unliquidated
901 W. 18th Street
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77008           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.10     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $3,092.77
                                                                Check all that apply.
American Family Life Assurance                                      Contingent
                                                                    Unliquidated
AFLAC
                                                                    Disputed
917 Brown Avenue
                                                                Basis for the claim:
Columbus                               GA       31906           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.11     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $28,225.00
                                                                Check all that apply.
American Physicians and Supply                                      Contingent
                                                                    Unliquidated
c/o Stephen W. Lemmon
                                                                    Disputed
Sheinfeld Maley & Kay
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.12     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $937.84
                                                                Check all that apply.
Arrow International                                                 Contingent
                                                                    Unliquidated
2400 Bernville Road
                                                                    Disputed

                                                                Basis for the claim:
Reading                                PA       19605           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6
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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.13    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $38,210.56
                                                                Check all that apply.
Automatic Data Processing                                           Contingent
                                                                    Unliquidated
4822 Martin Luther King Jr. Blvd.
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77021           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.14    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $26,341.00
                                                                Check all that apply.
Bank of New York Mellon                                             Contingent
                                                                    Unliquidated
1000 Louisiana Street
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.15    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $330,013.00
                                                                Check all that apply.
Beckman Coulter Inc.                                                Contingent
                                                                    Unliquidated
c/o Ian Andrew McCarthy
                                                                    Disputed
Barnett & Garcia
                                                                Basis for the claim:
                                                                Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.16    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $15,171.00
                                                                Check all that apply.
Beckman Instruments Inc                                             Contingent
                                                                    Unliquidated
c/o Jim D. Hamilton
                                                                    Disputed
Twentieth Floor, Coastal Tower
                                                                Basis for the claim:
Houston                                TX       77046           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7
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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.17    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $20,000.00
                                                                Check all that apply.
Bennie Thomas                                                       Contingent
                                                                    Unliquidated
c/o Patricia R. Saum
                                                                    Disputed
Jann Scherbarth & Associates
                                                                Basis for the claim:
Houston                                TX       77027           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.18    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,154.83
                                                                Check all that apply.
Beta Tech Inc                                                       Contingent
                                                                    Unliquidated
16810 Barker Springs Road, Suite 204
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77084           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.19    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,392.46
                                                                Check all that apply.
Bio-Rad Laboratories Inc.                                           Contingent
                                                                    Unliquidated
1000 Alfred Nobel Drive
                                                                    Disputed

                                                                Basis for the claim:
Hercules                               CA       94547           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.20    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $214.50
                                                                Check all that apply.
Biomedical Waste Solutions, LLC                                     Contingent
                                                                    Unliquidated
1100 Main
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8
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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.21    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $98,741.00
                                                                Check all that apply.
Bonner, Cora                                                        Contingent
                                                                    Unliquidated
c/o H. Howard Schmerin
                                                                    Disputed
2650 Fountain View, Suite 132
                                                                Basis for the claim:
Houston                                TX       77057           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.22    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $90,000.00
                                                                Check all that apply.
Canfield Funding LLC                                                Contingent
                                                                    Unliquidated
c/o Fred Wahrlich
                                                                    Disputed
Floyd, Isgur, Rios & Wahrlich, P.C.
                                                                Basis for the claim:
Houston                                TX       77002-2732      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.23    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,346.95
                                                                Check all that apply.
Centech Communication Company                                       Contingent
                                                                    Unliquidated
10039 Bissonnet Street
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77036           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.24    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $20,107.11
                                                                Check all that apply.
Centerpoint Energy                                                  Contingent
                                                                    Unliquidated
P. O. Box 4981
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77210-4981      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9
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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.25    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $52,294.00
                                                                Check all that apply.
Christus St. Joseph Hospital                                        Contingent
                                                                    Unliquidated
c/o Leon E. Pegg
                                                                    Disputed
Holloway & Gumbert
                                                                Basis for the claim:
Houston                                TX       77098           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.26    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $12,700.00
                                                                Check all that apply.
City of Houston                                                     Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.27    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $38,268.80
                                                                Check all that apply.
City of Houston Water                                               Contingent
                                                                    Unliquidated
4200 Leeland Street
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77023           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.28    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $140,000.00
                                                                Check all that apply.
Clement Aldridge                                                    Contingent
                                                                    Unliquidated
7529 Olympia Dr.
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77063           Attorney Fees

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:       Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.29     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,976.57
                                                                Check all that apply.
College of American Pathologists                                    Contingent
                                                                    Unliquidated
13501 I Street NW Suite 590
                                                                    Disputed

                                                                Basis for the claim:
Washington                             DC       20005           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.30     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $147.55
                                                                Check all that apply.
Comcast                                                             Contingent
                                                                    Unliquidated
1 Comcast Center
                                                                    Disputed

                                                                Basis for the claim:
Philadelphia                           PA       19103           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.31     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $439.85
                                                                Check all that apply.
Daniels Sharpmart Inc.                                              Contingent
                                                                    Unliquidated
111 W. Jackson Blvd., Suite 720
                                                                    Disputed

                                                                Basis for the claim:
Chicago                                IL       60604           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.32     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                 $269,793.00
                                                                Check all that apply.
Danka Funding Company Inc.                                          Contingent
                                                                    Unliquidated
c/o Glen A. Nordt
                                                                    Disputed
Coats Rose Yale Ryman & Lee, P.C.
                                                                Basis for the claim:
Houston                                TX       77002-6707      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.33    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $18,167.69
                                                                Check all that apply.
Dawson Chemical & Janitorial                                        Contingent
                                                                    Unliquidated
6010 Irvington Blvd.
                                                                    Disputed
Houston, Texas 7709
                                                                Basis for the claim:
                                                                Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.34    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $51,000.00
                                                                Check all that apply.
Dennis Lewis                                                        Contingent
                                                                    Unliquidated
c/o William H. Watson
                                                                    Disputed
Ballard & Watson
                                                                Basis for the claim:
Houston                                TX       77046           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.35    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $244.00
                                                                Check all that apply.
Drug Enforcement Administration                                     Contingent
                                                                    Unliquidated
1433 W. Loop South, Suite 600
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77027           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.36    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $3,600.00
                                                                Check all that apply.
Emdeon Business Service                                             Contingent
                                                                    Unliquidated
100 N. Byrne Road
                                                                    Disputed

                                                                Basis for the claim:
Toledo                                 OH       43607           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.37      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $229,399.00
                                                                Check all that apply.
Estill Affiliates LLC                                               Contingent
                                                                    Unliquidated
c/o Wendle Van Smith
                                                                    Disputed
One Arena Place
                                                                Basis for the claim:
Houston                                TX       77074           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.38      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $294,839.00
                                                                Check all that apply.
Ethel Austin                                                        Contingent
                                                                    Unliquidated
c/o G. Scott Fiddler
                                                                    Disputed
5959 West Loop South, Suite 150
                                                                Basis for the claim:
Bellaire                               TX       77401           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.39      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $15,750.00
                                                                Check all that apply.
Fasthealth Corporation                                              Contingent
                                                                    Unliquidated
101 23rd Avenue
                                                                    Disputed

                                                                Basis for the claim:
Tuscaloosa                             AL       35401           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.40      Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,500.00
                                                                Check all that apply.
Fire Safe Protection Service                                        Contingent
                                                                    Unliquidated
1815 Sherwood Forest Street
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77043           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.41    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $2,245.55
                                                                Check all that apply.
Grainger                                                            Contingent
                                                                    Unliquidated
3232 Harrisburg Blvd.
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77003           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.42    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $84,687.83
                                                                Check all that apply.
Green Bank                                                          Contingent
                                                                    Unliquidated
4000 Greenbriar
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77098           line of credit

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.43    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,051.50
                                                                Check all that apply.
Gulf Coast Regional Blood                                           Contingent
                                                                    Unliquidated
1400 La Concha Lane
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77054           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.44    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $4,375.00
                                                                Check all that apply.
Harris County                                                       Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.45    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $73,121.00
                                                                Check all that apply.
Harris County                                                       Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
                                                                Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.46    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $18,174.00
                                                                Check all that apply.
Harris County                                                       Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.47    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $638.00
                                                                Check all that apply.
Harris County                                                       Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.48    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $5,378.00
                                                                Check all that apply.
Harris County                                                       Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.49    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $7,303.00
                                                                Check all that apply.
Harris County/HISD                                                  Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.50    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $9,749.00
                                                                Check all that apply.
Harris County/HISD                                                  Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.51    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $2,032.00
                                                                Check all that apply.
Harris County/HISD                                                  Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.52    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   Unknown
                                                                Check all that apply.
Harris County/HISD                                                  Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.53    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $23,821.00
                                                                Check all that apply.
Harris County/HISD                                                  Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.54    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $12,083.00
                                                                Check all that apply.
Harris County/HISD                                                  Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.55    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,666.00
                                                                Check all that apply.
Healing Air Inc.                                                    Contingent
                                                                    Unliquidated
14502 Hiram Clark Road
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77045           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.56    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $496,832.00
                                                                Check all that apply.
Healthland-Omaha                                                    Contingent
                                                                    Unliquidated
1600 Utica Avenue, Suite 300
                                                                    Disputed

                                                                Basis for the claim:
Minneapolis                            MN       55416           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.57    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $129,600.82
                                                                Check all that apply.
Hill International, Inc.                                            Contingent
                                                                    Unliquidated
John Lynd
                                                                    Disputed
3200 SW Freeway, Ste 2300
                                                                Basis for the claim:
Houston                                TX       77027           Judgment

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.58    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $25,938.00
                                                                Check all that apply.
HISD                                                                Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.59    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $51,736.00
                                                                Check all that apply.
HISD                                                                Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.60    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $610.00
                                                                Check all that apply.
HISD                                                                Contingent
                                                                    Unliquidated
c/o Linebarger Goggan Blair & Sampson
                                                                    Disputed
1300 Main, Suite 300
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.61    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,855.00
                                                                Check all that apply.
Hour Doc-Holding, LLC                                               Contingent
                                                                    Unliquidated
4801 Woodway, Suite 210
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77056           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.62    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $142.50
                                                                Check all that apply.
Hurricane Glass                                                     Contingent
                                                                    Unliquidated
11000 Gulf Freeway
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77034           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.63    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $2,147.63
                                                                Check all that apply.
IMMUCOR Inc.                                                        Contingent
                                                                    Unliquidated
3700 Mangun Road
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77092           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.64    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,467.60
                                                                Check all that apply.
INFOLAB Inc.                                                        Contingent
                                                                    Unliquidated
690 Center Street, Suite 301
                                                                    Disputed

                                                                Basis for the claim:
Herndon                                VA       20170           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.65     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $190.00
                                                                Check all that apply.
JB's Carpet Cleaning                                                Contingent
                                                                    Unliquidated
2313 W. Sam Houston Pkwy N., Suite 131
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77043           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.66     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                     $950.00
                                                                Check all that apply.
JC Electirical Service                                              Contingent
                                                                    Unliquidated
630 Westfield Lane
                                                                    Disputed

                                                                Basis for the claim:
Friendswood                            TX       77546           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.67     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                   $1,289.04
                                                                Check all that apply.
Krames Staywell, LLC                                                Contingent
                                                                    Unliquidated
780 Township Line Road
                                                                    Disputed

                                                                Basis for the claim:
Yardley                                PA       19067           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.68     Nonpriority creditor's name and mailing address       As of the petition filing date, the claim is:                  $17,298.43
                                                                Check all that apply.
Kuhn Digital, LLC                                                   Contingent
                                                                    Unliquidated
13519 Pinerock Lane
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77079           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.69    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $3,745.00
                                                                Check all that apply.
Kwik Kill Exterminators of Texas                                    Contingent
                                                                    Unliquidated
715 E. Tidwell Road
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77022           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.70    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $60,805.34
                                                                Check all that apply.
Laboratory Corp of America                                          Contingent
                                                                    Unliquidated
Johnson Legal Network, PLLC
                                                                    Disputed
535 Wellington Way, Suite 380
                                                                Basis for the claim:
Lexington                              KY       40503           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.71    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $275,000.00
                                                                Check all that apply.
Lanetta Sparks                                                      Contingent
                                                                    Unliquidated
c/o John A. Elmore
                                                                    Disputed
3033 Fannin, Suite 101
                                                                Basis for the claim:
Houston                                TX       77004           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.72    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,519.78
                                                                Check all that apply.
Liberty Office Products                                             Contingent
                                                                    Unliquidated
8744 Westpark Drive
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77063           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.73    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $132,194.00
                                                                Check all that apply.
Lyons Supermarket Corp.                                             Contingent
                                                                    Unliquidated
c/o Trang Q. Tran
                                                                    Disputed
Tran Law Firm
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.74    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $420.00
                                                                Check all that apply.
Machine Ice Company                                                 Contingent
                                                                    Unliquidated
8915 Sweetwater Lane
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77037           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.75    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $11,361.07
                                                                Check all that apply.
Matheson Tri-Gas                                                    Contingent
                                                                    Unliquidated
2200 Houston Avenue
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77007           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.76    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $111,073.00
                                                                Check all that apply.
Medical Programs Inc.                                               Contingent
                                                                    Unliquidated
c/o Thomas Herter
                                                                    Disputed
Clark Hellen & Herter, P.C.
                                                                Basis for the claim:
Houston                                TX       77081           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.77    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $315.00
                                                                Check all that apply.
Mitel Technologies                                                  Contingent
                                                                    Unliquidated
10603 W. Sam Houston Pkwy., Suite 400
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77064           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.78    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,494.42
                                                                Check all that apply.
MOD Space Storage                                                   Contingent
                                                                    Unliquidated
10604 Wallisville Road
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77013           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.79    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $7,174.75
                                                                Check all that apply.
Morad A. Nashed                                                     Contingent
                                                                    Unliquidated
17211 Sandestine Dr.
                                                                    Disputed

                                                                Basis for the claim:
Huston                                 TX       77095           Services Performed, Vacation and Unpaid Time

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.80    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $1,248.68
                                                                Check all that apply.
Nexus Disposal, LLC                                                 Contingent
                                                                    Unliquidated
6131 Thomas Road
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77041           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.81    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $6,372.06
                                                                Check all that apply.
Office Depot, Inc.                                                  Contingent
                                                                    Unliquidated
6600 North Military Trail
                                                                    Disputed

                                                                Basis for the claim:
Boca Raton                             FL       33496           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.82    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $4,226.00
                                                                Check all that apply.
OGH Service Company                                                 Contingent
                                                                    Unliquidated
3730 Creekmont Drive
                                                                    Disputed
Houston, Texas
                                                                Basis for the claim:
                                                                Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.83    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                     $626.20
                                                                Check all that apply.
Olshan Lumber Company                                               Contingent
                                                                    Unliquidated
2600 Commerce Street
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77003           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.84    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $3,266.27
                                                                Check all that apply.
Otis Elevator Company                                               Contingent
                                                                    Unliquidated
9001 Jameel Road, Suite 100
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77040           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Riverside General Hospital, Inc.                                      Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

 3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $165.00
                                                               Check all that apply.
Pension Benefit Information                                        Contingent
                                                                   Unliquidated
711 Grand Avenue
                                                                   Disputed

                                                               Basis for the claim:
San Rafael                             CA     94901            Unsecured Debt

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $150.00
                                                               Check all that apply.
Pete's Welding Service                                             Contingent
                                                                   Unliquidated
711 Pearl Street
                                                                   Disputed
Houston, Texas
                                                               Basis for the claim:
                                                               Unsecured Debt

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,248.09
                                                               Check all that apply.
Pitney Bowes, Inc.                                                 Contingent
                                                                   Unliquidated
27 Waterview Dr.
                                                                   Disputed
3rd Fl
                                                               Basis for the claim:
Shelton                                CT     06484            Goods Sold

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes


 3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,200.00
                                                               Check all that apply.
Pitney Bowes, Inc.                                                 Contingent
                                                                   Unliquidated
27 Waterview Dr.
                                                                   Disputed
3rd Fl
                                                               Basis for the claim:
Shelton                                CT     06484            Goods Sold

Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    No
Last 4 digits of account number                                     Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.89    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $246,550.00
                                                                Check all that apply.
Reliant Energy Inc.                                                 Contingent
                                                                    Unliquidated
c/o Marchris Robinson
                                                                    Disputed
4203 Yoakum Blvd., Suite 310
                                                                Basis for the claim:
Houston                                TX       77006-5455      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.90    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $320,476.00
                                                                Check all that apply.
Reliant Energy Inc.                                                 Contingent
                                                                    Unliquidated
c/o Marchris Robinson
                                                                    Disputed
4203 Yoakum Blvd., Suite 310
                                                                Basis for the claim:
Houston                                TX       77006-5455      Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.91    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $20,000.00
                                                                Check all that apply.
State of Texas                                                      Contingent
                                                                    Unliquidated
c/o Scot Clinton Assistant Attorneys Gen
                                                                    Disputed
Consumer Protection & Public Health Divi
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.92    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $188,150.00
                                                                Check all that apply.
STM & Associates Architects LLC                                     Contingent
                                                                    Unliquidated
c/o Kevin Michael Madden
                                                                    Disputed
1001 Texas Avenue, Suite 1400
                                                                Basis for the claim:
Houston                                TX       77002           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                      page 26
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Debtor      Riverside General Hospital, Inc.                                        Case number (if known)      16-30603



 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

 3.93    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $289,162.88
                                                                Check all that apply.
Stryker Medical                                                     Contingent
                                                                    Unliquidated
Lori Purkey, Purkey and Assoc., PLC
                                                                    Disputed
5050 Cascade Rd, SE, Ste. A
                                                                Basis for the claim:
Grand Rapids                           MI       49546           Sale of Goods

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.94    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $874,226.00
                                                                Check all that apply.
Surgical Medical Solutions                                          Contingent
                                                                    Unliquidated
c/o Miguel Jose Chapa Chapa Law Group, P
                                                                    Disputed
First National Bank Tower
                                                                Basis for the claim:
San Antonio                            TX       78201           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.95    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $50,000.00
                                                                Check all that apply.
Walter D. Davis, CPA                                                Contingent
                                                                    Unliquidated
PO Box 36466
                                                                    Disputed

                                                                Basis for the claim:
Houston                                TX       77236           Services Rendered

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


 3.96    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                  $17,441.00
                                                                Check all that apply.
Wittaker General Medical                                            Contingent
                                                                    Unliquidated
c/o Jon D. Totz
                                                                    Disputed
Lapin Totz & Mayer
                                                                Basis for the claim:
Houston                                TX       77027           Unsecured Debt

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor      Riverside General Hospital, Inc.                                  Case number (if known)      16-30603



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.              $1,923,496.21

5b. Total claims from Part 2                                                              5b.   +          $5,433,040.93


5c. Total of Parts 1 and 2                                                                5c.              $7,356,537.14
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 28
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 Fill in this information to identify the case:


 Debtor Name Riverside General Hospital, Inc.

 United States Bankruptcy Court for the:                   SOUTHERN DISTRICT OF TEXAS

 Case number (if known):              16-30603                                                                                                                                      Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                               $20,484,850.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                      $15,841.00
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                               $20,500,691.00
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 206D)
                                                                                                                                         $19,222,322.03
     Copy the total dollar amount listed in Column A, Amount of claim, at the bottom of page 1 of Schedule D.........................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                  $1,923,496.21
         Copy the total claims from Part 1 from line 5a of Schedule E/F........................................................................................................................................

     3b. Total amount of claims of non-priority amount of unsecured claims:
                                                                                                                                              + $5,433,040.93
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.............................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................$26,578,859.17




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
